CaS§; 18-01096 DOCZ 63 Filed: 03/15/19 Page: 1 Of 2

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NOTICE AND OPPORTUNITY FOR HEARING

YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THIS DOCUMENT CAREFULLY
AND CONSULT YOUR ATTORNEY ABOUT YOUR RlGHTS AND THE EFFECT OF THIS
DOCUMENT. IF YOU DO NOT WANT THE COURT TO GRANT THE REQUESTED RELIEF,
OR YOU WISH TO HAVE YOUR VlEWS CONSIDERED, YOU MUST FlLE A WRITTEN
RESPONSE OR OBJECTlON TO THE REQUESTED RELIEF WITH THE CLERK OF THE
UNI'I`ED S'I`ATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF OKLAHOMA,
215 DEAN A. MCGEE AVENUE, OKLAHOMA CI'I`Y, OK 73102, NO LAI`ER THAN 14
DAYS FROM THE DA'I`E OF FILING OF THIS REQUEST FOR RELlEF, UNLESS ORDERED
SOONER BY SEPARATE ORDER. YOU SHOULD ALSO SERVE A FlLE-STAMPED COPY OF
YOUR RESPONSE OR OBJECTION ON THE UNDERSIGNED MOVANT (AND O'I`HERS WHO
ARE REQUIRED 'I`O BE SERVED) AND FlLE A CERT[FICATE OF SERVICE WITH THE
COURT. IF NO RESPONSE OR OBJECTION IS TIMELY FILED, THE COURT MAY GRAN'I`
THE REQUESTED RELlEF WITHOUT A HEARlNG OR FURTHER NOTlCE.

THE 14 DAY PERIOD DESCRIBED ABOVE INCLUDES THE THREE (3) DAYS ALLOWED
FOR MAILING PROVIDED FOR IN BANKRUPTCY RULE 9006 (F).

CERTIFICATE OF SERVICE

Undersigned certifies that on this date the foregoing document was served, via
United States Mail, lst class postage pre-paid, and properly addressed to the
following:

Oklahoma County District Attorney Don Timberlake

c/o Rod Heggy PO Box 18486
320 Robert S Kerr Oklahoma City, OK 73154-0486
County Building, 5th Floor Attorney for Franklin American
Oklahoma City OK 73102 and Fannie Mae in state court

Attorney for Oklahoma County Sheriff

Scott Kirtley, Esq RCB Bank

Riggs Abney Law Firm 300 W. Patti Page /

502 W. 6th Street Claremore, OK"74017

Tulsa, 01< 74119-1010 j. /-»

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/s/

Alexander Bednar / Debtor

15721 Via Bella

Edmond, OK 73013 405 420 9030
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